 

Case 1:12-cv-01486-JKB Document 6 Filed 10/04/12 Page 1 of 1

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IN THE UNITED STATES DistRICE court
FOR THE DISTRICT OF MARYLAND SH

REBECCA MOORE aL CCT -u PB: Ob
Plaintiff *
v. # CIVIL NO. JKB-12-1486

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FRANKLIN COLLECTION SERVICE, INC,

Defendant *
* * * * * * * * * * *& * *

ORDER

In light of the voluntary dismissal by Plaintiff of Defendant on October 2, 2012 (ECF No.
5), with the dismissal accomplished by operation of law pursuant to Rule 41(a)(1), Federal Rules

of Civil Procedure, the Court DIRECTS the Clerk to close the case.

DATED this @ day of October, 2012.

BY THE COURT:

Jame KAP he

James K. Bredar
United States District Judge

 
